Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 1 of 24




      EXHIBIT 1
                      (Part 1)
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 2 of 24




                                                          FISCHER 039
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 3 of 24




                                                          FISCHER 040
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 4 of 24




                                                          FISCHER 041
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 5 of 24




                                                          FISCHER 042
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 6 of 24




                                                          FISCHER 043
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 7 of 24




                                                          FISCHER 044
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 8 of 24




                                                          FISCHER 045
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 9 of 24




                                                          FISCHER 046
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 10 of 24




                                                           FISCHER 047
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 11 of 24




                                                           FISCHER 048
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 12 of 24




                                                           FISCHER 049
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 13 of 24




                                                           FISCHER 050
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 14 of 24




                                                           FISCHER 051
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 15 of 24




                                                           FISCHER 052
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 16 of 24




                                                           FISCHER 053
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 17 of 24




                                                           FISCHER 054
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 18 of 24




                                                           FISCHER 055
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 19 of 24




                                                           FISCHER 056
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 20 of 24




                                                           FISCHER 057
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 21 of 24




                                                           FISCHER 058
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 22 of 24




                                                           FISCHER 059
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 23 of 24




                                                           FISCHER 060
Case 2:12-cv-00601-ROS Document 2763-1 Filed 04/13/18 Page 24 of 24




                                                           FISCHER 061
